       Case 8:20-cv-02177-MSS-CPT Document 9 Filed 09/28/20 Page 1 of 3 PageID 27




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

   JAMES CAIRNEY, on behalf of himself
   and on behalf of all others similarly
   situated,

           Plaintiff,

   v.                                                           Case No: 8:20-cv-2177-T-35CPT

   THE FLORIDA AQUARIUM, INC.,

           Defendant.


                                  INTERESTED PERSONS ORDER
                                       FOR CIVIL CASES

           This Court makes an active effort to screen every case in order to identify parties

   and interested corporations in which any assigned judge may be a shareholder, as well

   as for other matters that might require consideration of recusal. It is therefore

           ORDERED that, within fourteen days1 from the date of this order (or from the date

   of subsequent first appearance 2 in this action), each party, pro se party, governmental

   party, intervenor, non-party movant, and Rule 69 garnishee shall file and serve a

   CERTIFICATE    OF INTERESTED     PERSONS    AND   CORPORATE DISCLOSURE STATEMENT in the

   following form:




   1
    If this order was served by mail, add three days to the prescribed period. Fed.R.Civ.P. 6. Service
by facsimile constitutes a method of hand delivery for the purpose of computing the time within which
any response is required. Local Rule 1.07(c).
   2
   Every pleading or paper filed constitutes a general appearance of the party unless otherwise
specified. Local Rule 2.03 (a).
Case 8:20-cv-02177-MSS-CPT Document 9 Filed 09/28/20 Page 2 of 3 PageID 28




                          CERTIFICATE OF INTERESTED PERSONS
                         AND CORPORATE DISCLOSURE STATEMENT

          I hereby disclose the following pursuant to this Court’s interested persons
 order:

 1.)    the name of each person, attorney, association of persons, firm, law firm,
 partnership, and corporation that has or may have an interest in the outcome of
 this action — including subsidiaries, conglomerates, affiliates, parent
 corporations, publicly-traded companies that own 10% or more of a party’s stock,
 and all other identifiable legal entities related to any party in the case:

               [insert list]

 2.)  the name of every other entity whose publicly-traded stock, equity, or debt
 may be substantially affected by the outcome of the proceedings:

               [insert list]

 3.)    the name of every other entity which is likely to be an active participant in
 the proceedings, including the debtor and members of the creditors’ committee
 (or twenty largest unsecured creditors) in bankruptcy cases:

               [insert list]

 4.)     the name of each victim (individual or corporate) of civil and criminal
 conduct alleged to be wrongful, including every person who may be entitled to
 restitution:

               [insert list]

        I hereby certify that, except as disclosed above, I am unaware of any
 actual or potential conflict of interest involving the district judge and magistrate
 judge assigned to this case, and will immediately notify the Court in writing on
 learning of any such conflict.

 [Date]                              _____________________________
                                     [Counsel of Record or Pro Se Party]
                                               [Address and Telephone]
 [Certificate of Service]




                                           -2-
 Case 8:20-cv-02177-MSS-CPT Document 9 Filed 09/28/20 Page 3 of 3 PageID 29




       It is FURTHER ORDERED that no party may seek discovery from any source

before filing and serving a CERTIFICATE         OF   INTERESTED PERSONS      AND   CORPORATE

DISCLOSURE STATEMENT. A motion, memorandum, response, or other paper — including

emergency motion — may be denied or stricken unless the filing party has previously

filed and served its CERTIFICATE      OF INTERESTED   PERSONS   AND   CORPORATE DISCLOSURE

STATEMENT.

       FURTHER ORDERED that each party has a continuing obligation to file and serve

an amended CERTIFICATE          OF   INTERESTED PERSONS       AND   CORPORATE DISCLOSURE

STATEMENT within fourteen days of 1) discovering any ground for amendment, including

notice of case reassignment to a different judicial officer; or 2) discovering any ground for

recusal or disqualification of a judicial officer. A party should not routinely list an assigned

district judge or magistrate judge as an “interested person” absent some non-judicial

interest.

       FURTHER ORDERED that, in order to assist the Court in determining when a

conflict of interest may exist, particularly when ruling on matters formally assigned to

another judge, each party shall use the full caption of the case — including the names of

all parties and intervenors — on all motions, memoranda, papers, and proposed orders

submitted to the Clerk. See Fed.R.Civ.P. 10(a); Local Rule 1.05(b) (“et al.” discouraged).

       DONE AND ORDERED in Tampa, Florida, this 28th day of September, 2020.




Copies to:    All Counsel of Record
              All Pro Se Parties

                                              -3-
